      Case: 3:08-cr-00087-wmc Document #: 167 Filed: 02/02/09 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT

                  FOR THE WESTERN DISTRICT OF WISCONSIN

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

UNITED STATES OF AMERICA,
                                                              ORDER
                           Plaintiff,
                                                              08-cr-87-bbc-02
             v.

COREY THOMAS,

                           Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

      No objections having been received to the report and recommendation entered herein

by the United States Magistrate Judge on January 20, 2009, IT IS ORDERED that the

magistrate judge’s recommendation is ADOPTED.1 FURTHER, IT IS ORDERED that

defendant Corey Thomas’s motion to suppress physical evidence and his post-arrest

statements is GRANTED.

      Entered this 2d day of February, 2009.

                                         BY THE COURT:
                                         /s/
                                         BARBARA B. CRABB
                                         District Judge




      1
       The date of the United States Magistrate Judge’s Report and Recommendation (dkt.
148) contains a typographical error. The Report and Recommendation was entered on
January 20, 2009 not January 20, 2000.

                                            1
